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                                               JS-6
                                                                December 5, 2021

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 2
                            UNITED STATES DISTRICT COURT
 3
                          CENTRAL DISTRICT OF CALIFORNIA
 4
 5                                             Case No. 2:21-cv-03974-SB-MRW
     NANA AKUA SERWAAH ODDEI,
 6
 7                             Plaintiff,
 8                                                  FINAL JUDGMENT
     v.
 9
10   OPTUM, INC. et al.,

11                             Defendants.
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13
14         For the reasons set forth in the Court’s Order granting Defendant ScanSTAT’s
15   Motion for Judgment on the Pleadings, it is:
16         ORDERED AND ADJUDGED that Plaintiff Nana Akua Serwaah Oddei shall
17   take nothing on her Confidentiality of Medical Information Act claim against
18   Defendant ScanSTAT Technologies, LLC. Plaintiff’s claim is DISMISSED with
19   prejudice.
20         This is a Final Judgment.
21
22   Dated: December 5, 2021           _______________________________________
23                                          STANLEY BLUMENFELD, JR.
                                          UNITED STATES DISTRICT JUDGE
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